        Case 1:22-mj-00143-ZMF Document 15 Filed 07/01/22 Page 1 of 1



                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     )
                                             )
v.                                           )
                                             )     Criminal No. 22-mj-143
HATCHET SPEED,                               )
            Defendant.                       )
                                             )


                          NOTICE OF APPEARANCE

      PLEASE TAKE NOTICE that Brooke S. Rupert, Assistant Federal Public

Defender for the Eastern District of Virginia, hereby notes her appearance and joins

Courtney Dixon as counsel for the defendant in the above-entitled action.



                                             Respectfully submitted,
                                             HATCHET SPEED

                                             By:              /s/
                                             Brooke S. Rupert, VA BAR# 79729
                                             Assistant Federal Public Defender
                                             Counsel for Mr. Speed
                                             1650 King Street, Suite 500
                                             Alexandria, Virginia 22314
                                             (703) 600-0849 (telephone)
                                             (703) 600-0880 (facsimile)
                                             Brooke_Rupert@fd.org (email)
